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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION




UNITED STATES OF AMERICA,

v.                                                                     4:92cr4013-WS

MARLIN DAVIS,                                                          4:09cv248-WS

                     Defendant.



                   ORDER ADOPTING THE MAGISTRATE JUDGE’S
                       REPORT AND RECOMMENDATION

       Before the court is the magistrate judge's report and recommendation (doc.

1897) docketed July 20, 2009. The magistrate judge recommends that the defendant's

"Writ of Error Audita Querela" (doc. 1895) be summarily denied. The defendant has

filed objections (doc. 1898) to the report and recommendation.

       Upon review of the record in light of the defendant’s objections, the court has

determined that the magistrate judge’s report and recommendation must be adopted.

       Accordingly, it is ORDERED:

       1. The magistrate judge's report and recommendation (doc. 1897) is adopted

and incorporated by reference in this order of the court.

       2. The defendant’s "Writ of Error Audita Querela" (doc. 1895) is summarily

DENIED.
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       3. The clerk shall close Case No. 4:09cv248-WS.

       DONE AND ORDERED this        10th    day of       August   , 2009.




                                       s/ William Stafford
                                       WILLIAM STAFFORD
                                       SENIOR UNITED STATES DISTRICT JUDGE




Case No 4:92cr4013-WS
